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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
v.                                          :       Case No. 1:21-cr-162(2) (BAH)
                                            :
TERRY LYNN LINDSEY,                         :
                                            :
                      Defendant.            :

                                   NOTICE TO THE COURT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby provides notice to the Court that it does not intend to use for

impeachment or any other purpose Mr. Lindsey’s 1990 conviction for Desertion Resulting in

Discharge. Accordingly, the United States withdraws its statement set forth in Section G of the

Joint Pretrial Statement. See ECF No. 69 at 3.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            DC BAR NO. 481052

                                     By:    /s/ Jordan A. Konig
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